     Case 3:15-cv-03453-D Document 49 Filed 03/23/16                 Page 1 of 2 PageID 1010


                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IRONCLAD PERFORMANCE WEAR
CORPORATION,

        Plaintiff,
                                                             Case No. 3:15-cv-03453-D
v.

ORR SAFETY CORPORATION,

        Defendant


 AGREED MOTION FOR ENTRY OF AGREED ORDER PURSUANT TO FEDERAL RULE
                          OF EVIDENCE 502


        Ironclad Performance Wear Corporation and ORR Safety Corporation respectfully move

the Court to enter the proposed Agreed Order Pursuant to Federal Rule of Evidence 502,

submitted      contemporaneously      herewith         to     the     Court     via      e-mail   at

Fitzwater_Orders@txnd.uscourts.gov.

AGREED TO:
BURNS CHAREST LLP                                    FULTZ MADDOX DICKENS PLC

By: /s/ Will Thompson                                By: /s/ Jennifer Metzger Stinnett

Daniel H. Charest                                    Benjamin C. Fultz (admitted pro hac vice)
Warren T. Burns                                      Jennifer Metzger Stinnett (admitted pro hac
Will Thompson                                        vice)
BURNS CHAREST LLP                                    FULTZ MADDOX DICKENS PLC
500 North Akard Street, Suite 2810                   2700 National City Tower
Dallas, Texas 75201                                  Louisville, Kentucky 40202
Telephone: (469) 904-4550                            Telephone: (502) 588-2000
Facsimile: (469) 444-5002                            Facsimile: (502) 588-2020
dcharest@burnscharest.com                            bfultz@fmdlegal.com
wburns@burnscharest.com                              jstinnett@fmdlegal.com
wthompson@ burnscharest.com



                                                 1
   Case 3:15-cv-03453-D Document 49 Filed 03/23/16                Page 2 of 2 PageID 1011


Michael A. Sherman (admitted pro hac vice)          Gregory M. Sudbury
Barak J. Kamelgard (admitted pro hac vice)          Rachel Lee Hytken
STUBBS ALDERTON & MARKILES, LLP                     QUILLING, SELANDER, LOWNDS,
15260 Ventura Boulevard, 20th Floor                 WINSLETT & MOSER, P.C.
Sherman Oaks, California 91403                      2001 Bryan Street, Suite 1800
Telephone (818) 444-4500                            Dallas, Texas 75201
Facsimile: (818) 444-4520                           Telephone: (214) 871-2100
masherman@stubbsalderton.com                        Facsimile: (214) 871-2111
bkamelgard@stubbsalderton.com                       gsudbury@qslwm.com

ATTORNEYS FOR PLAINTIFF                             ATTORNEYS FOR DEFENDANT



                                CERTIFICATE OF SERVICE

        I certify that on March 23, 2016, I electronically submitted the foregoing document with the
clerk of court for the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the court. I further certify that I have served all counsel of record electronically or by
another manner authorized by Federal Rule of Civil Procedure 5(b)(2).


                                      s/ Jennifer Metzger Stinnett
                                      Counsel for Defendant and Counterclaim Plaintiff




                                                2
